         FIRST DISTRICT COURT OF APPEAL
                STATE OF FLORIDA
                 _____________________________

                        No. 1D2023-3045
                 _____________________________

THEOPHUS DAVISON,

    Appellant,

    v.

STATE OF FLORIDA,

    Appellee.
                 _____________________________


On appeal from the Circuit Court for Escambia County.
Coleman L. Robinson, Judge.

                       August 27, 2024


PER CURIAM.

    AFFIRMED.

ROBERTS, WINOKUR, and LONG, JJ., concur.

                 _____________________________

    Not final until disposition of any timely and
    authorized motion under Fla. R. App. P. 9.330 or
    9.331.
               _____________________________


Theophus Davison, pro se, Appellant.
Ashley Moody, Attorney General, Tallahassee, for Appellee.




                               2
